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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

IN RE: JOHNSON & JOHNSON
TALCUM POWDER PRODUCTS
MARKETING, SALES PRACTICES AND
PRODUCTS LIABILITY LITIGATION

MDL Docket No. 2738

This Document Relates To All Cases

Name Nee ee Ne cee Ne eee ee See”

CERTIFICATION OF JULIE L. TERSIGNI

1. I am an attorney at law of the State of New Jersey and am an associate
of the law firm of Drinker Biddle & Reath LLP, attorneys for Defendants Johnson
& Johnson and Johnson & Johnson Consumer Inc., formerly known as Johnson &
Johnson Consumer Companies, Inc. I submit this Certification based on personal
knowledge in support of Defendants’ Johnson & Johnson and Johnson & Johnson
Consumer, Inc.’s Reply to the Plaintiffs’ Steering Committee’s Supplemental
Response in Opposition to Johnson & Johnson’s Motion to Exclude Plaintiffs’

Experts General Causation Opinions.

1. Attached hereto as Exhibit 1 is a true and correct copy of Excerpts of the
Deposition of Jack Siemiatycki, Oules v. Johnson & Johnson, No. 2014 CA 088327

(D.C. Sup. Ct. Dec. 15, 2016).
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2. I certify that the foregoing statements made by me are true. I am
aware that if any of the foregoing statements made by me are willfully false, I may

be subject to punishment.

Dated: July 18, 2019 4 CN

“ Julie L. Tersigni

